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Case 1:15-mj-00513-I\/|L Document 1 Filed 10/20/15 Page 1 of 3

PROB lZC SD{FL PACTS No. 114968
(SD/FL 3/05)

UNITED STATES DISTRICT COUR'I`
SOUTI-IERN DISTRICT OF FLORIDA

CASE No. lz-cn-tcezc-MARTINEZ pa \'S" mds \3

PETITION FOR WARRANT OR SUMMON§ FQR OFFENDER UNDER §UPERVIS!ON

Name of Offender: Ammon Covino

Name ofSentencing Judicial Oti‘icer: The Honorable Jose E. Martinez, United States District Judge, Key West,
Florida

Date of Original Sentence: December 2, 2013

Original Offense: Count One: Conspiracy to illegally purchase and sell fish/wildlifel 18 U.S.C.
§ 371, a Class D felony

Original Sentence: Twelve (12) months plus one (l) day custody of the Bureau ofPrisons; two (2) years
supervised release and $100 special assessmentl Special Conditions include, the
defendant shall: 1) provide complete access to financial information, including disclosure
of all business and personal tinances; and 2) not engage in activity that involves
exhibiting, importing, exporting, transporting, sclling, receiving, acquiring or purchasing
in interstate or foreign commerce any fish or wildlife

 

'l`ype of Supervision: Supervised Release Date Supervision Comrnenced: August 22, 2014
Assistant U.S. Attomey: Defense Attorney:
'I`homas Austin Watts-Fitzgerald Bruce Lyons (retained)
99 NE 4"‘ Street 110 Southeast 6"‘ Strect
Miarni, FL33132 Fort Lauderdale, FL 33301
(305) 961-9413 (954) 296-0022
PETITIONING THE COURT

[X] To issue a warrant
[] To issue a summons

'l`he probation officer believes that the offender has violated the following condition(s) ofsupervision:

Violation Number Nature ofNoncompliance
l . Vio|ntion ofStnndard Conditiou. by failing to answer truthfully all inquiries

 

by the probation officer. W`nen the defendant was questioned regarding him and
his vehicle’s presence at the Austin Aquariurn, the defendant denied being
observed driving the vehicle listed on his monthly supervision reports, and
denied working at the aquariums in Austin and San Antonio, when in fact,
evidence and statements from staff which identity the defendant working at
these locations and his vehicle et the Austin Aquariurn location, indicate this to
be false.

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PROB l2C SDIFL PACTS No. 114968

(SD/FL 3/05)
2. Violation of Sp_ecial Condition, by failing to abstain from engaging in

activity that involves exhibiting, importing, exporting, transporting selling,
receiving, acquiring or purchasing in interstate or foreign commerce any
fish or wildlife From January 2015 to July 2015, the defendant was
involved with the operations of Portland, Austin and San Antonio
Aquariums as evidenced by statements and complaints made by staff and
the community

U.S. Probation Offtcer Recommendation:

The term of supervision should be

[X] revoked.

[] extended for _ years, for a total term of_ years.

[] The conditions of supervision should be modified as follows:

I declare under penalty of perjury that the foregoing is true and correct.

Executed on Qctob§r 13l 2015

Newsetti C. Nlolnnis
gKC`"(§_§-M.~z oct 13 201512:13 PM
Newsetti Mclnnis
Senior U.S. Probation Ofiicer

once;(aos) 523-5308
cellular: (786) 269-9674 @'="~

 

 

THE COURT ORDERS:
[ ] No Action
[ The lssuance cfa Warrant

[ ] The lssuance of a Summons
[ ] Submit a Request for Modiiying the Conditions or Tcrm of Supervision

§/%//

Slgnature§` J udicial OHicer

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Date

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PROB l9a SD/FL PACTS No. 114968

UNITED sTATES DISTRICT coURT 919 5 2053
soUTHERN DISTRICT 0F FLoRIDA

CASE NO. 12-10020-CR-MARTINEZ-01
U.S.A. vs AMMON COVINO

TO:‘ ANY UNITED STATES MARSHAL OR AUTHORIZED REPRESENTATIVE

WARRANT FOR ARREST OF SUPERVISED RELEASEE

Ycu are hereby commanded to arrest the within-named supervised releasee and bring him or
her, forthwith, before the United States District Court to answer charges that he or she violated
the conditions of his or her supervised release imposed by the court.

 

 

 

 

 

 

 

`NAME Ol-` SUPERVISED R.ELEASBE SEX RACE AGE
AMMoN coero 415 /.5_0 57 ' <9 331 Maie white 42
mcness (smesr,cirv.s'rm~:)

2832 Grimes Ra.nch Rd, Austin, TX

supsnvissn nsLsAss imposes cv (NAME oi= comm oAn~: imposes

United States District Court, Southern District of Florida 12/2/2013

 

 

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United States District Court, Southern District of Fiorida

CLERK (B\’) DE? CL DATE
Steven M. Larimore 'MM //’/% /f

RETURN

 

 

 

 

 

 

 

 

 

   
 
 
 

   

DATE RECE|VED DATE EXECUTED

Warrant received and executed.

 

EXECUT]NO AOENCY (NAME AND ADDRESS)

 

 

NAME (BY) DATE

 

 

 

 

 

' Ins:rt designation cfcl!'icerio whom the warrant is issucd. c.g "uny Unitcd Siuics Mmhal ct tiny other authorized officcr;" cr"Unlicd Slaics Mitrshal for Soglhcm Districtct` i'~`lcrida ;"
cr "uny Unitcd States Mnrslin|;" cr "nny Spccial Agcnt cf the chcrnt Hureau of lnvestignlion;" cr 'nny Uniicd Siaics Marshc| or any Speciui Agcnt of the chcral Burcnu ofinvestigutlcn:"
or "any agent critic Alcohol Tttx Um't."

